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                     UNITED STATES DISTRICT COURT
        FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                  Eastern Division

UL LLC
                              Plaintiff,
v.                                                   Case No.: 1:24−cv−05631
                                                     Honorable Andrea R. Wood
Joshua Callington
                              Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 5, 2025:


        MINUTE entry before the Honorable Andrea R. Wood: Telephonic status hearing
held on 3/5/2025. As discussed on the record, Defendant shall file a reply to their motion
to dismiss by 3/19/2025. The Court orally denies Plaintiff's request to deem Defendant's
motion to dismiss [31] untimely; instead, pursuant to ORS 31.152, the Court exercises its
discretion to allow the filing past the presumptive 60−day deadline. Defendant's oral
motion to strike their motion to strike or dismiss [29] is granted as unopposed. The
document no. [29] is stricken and shall be placed under seal. Defendant's motion/request
for clarification [41] is terminated as having been addressed on the record. Telephonic
status hearing set for 4/24/2025 at 10:00 AM. To ensure public access to court
proceedings, members of the public and media may call in to listen to telephonic hearings.
The call−in number is (650) 479−3207 and the access code is 1808131170. Counsel of
record will receive an email 30 minutes prior to the start of the telephonic hearing with
instructions to join the call. Persons granted remote access to proceedings are reminded of
the general prohibition against photographing, recording, and rebroadcasting of court
proceedings. Violation of these prohibitions may result in sanctions, including removal of
court−issued media credentials, restricted entry to future hearings, denial of entry to future
hearings, or any other sanctions deemed necessary by the Court. Mailed notice (lma, )




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